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                                   6                                     UNITED STATES DISTRICT COURT
                                   7                                   NORTHERN DISTRICT OF CALIFORNIA
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                                          IN RE: LITHIUM ION BATTERIES                      Case No.: 13-MD-2420 YGR
                                  11      ANTITRUST LITIGATION
                                                                                            ORDER DIRECTING FILING OF PROPOSED
Northern District of California




                                  12                                                        FORM OF ORDER
 United States District Court




                                  13
                                          This Order Relates to:

                                  14
                                          All Indirect Purchaser and Direct
                                          Purchaser Actions
                                  15

                                  16          The Court ORDERS the parties to file a proposed form of order setting forth all deadlines
                                  17   imposed orally at the last status conference, held February 7, 2014. The parties' submission shall
                                  18   include the schedule for briefing the next phase of motions to dismiss, as well as the issues to be
                                  19   briefed, consistent with the Court's guidance at the status conference. The parties shall file the
                                  20   proposed order no later than Monday, February 24, 2014.
                                  21          The Court has considered the parties' oral argument and letter briefs concerning the timing
                                  22   of Defendants' proposed joint motion to strike nationwide class allegations from the Indirect
                                  23   Purchaser Plaintiffs' ("IPP") complaint. (Dkt. Nos. 378, 379.) The Court concludes that the matter
                                  24   is not suitable for hearing at this time. Assuming without deciding whether Mazza v. American
                                  25   Honda Motor Co., Inc., 666 F.3d 581 (9th Cir. 2012), controls given the nature of the instant
                                  26   action, the rational and efficient dispositional order in this case is to resolve issues of IPP standing
                                  27   first, and only then to proceed to California's three-step governmental interest test. If applicable,
                                  28   California's governmental interest test would require the Court to make a threshold determination
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                                   1   of "whether the relevant law of each of the potentially affected jurisdictions with regard to the
                                   2   particular issue in question is the same or different" as the substantive law of California. Mazza ,
                                   3   666 F.3d at 590 (quoting McCann v. Foster Wheeler LLC, 48 Cal. 4th 68, 87 (Cal. 2010)).
                                   4   Undertaking that analysis without having first ascertained in which "potentially affected
                                   5   jurisdictions" the IPPs have standing to sue risks wasting both Court and party resources.
                                   6   Accordingly, the Court shall not entertain the proposed joint motion to strike nationwide class
                                   7   allegations at this juncture.
                                   8           IT IS SO ORDERED.
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                                  10   Dated: February 19, 2014                           _______________________________________
                                                                                                YVONNE GONZALEZ ROGERS
                                  11                                                        UNITED STATES DISTRICT COURT JUDGE
                                  12
Northern District of California
 United States District Court




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